Case 2:19-cv-04821-MWF-KS Document 41 Filed 10/28/19 Page 1 of 1 Page ID #:370



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                          UNITED STATES DISTRICT COURT
  7
                        CENTRAL DISTRICT OF CALIFORNIA
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       Richard Dalton, et al.,                  CASE NO. 2:19-cv-04821-MWF-KS
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                                                ORDER GRANTING THE
 11                      Plaintiffs,            STIPULATION EXTENDING
             v.                                 DEADLINE FOR DEFENDANTS TO
 12                                             RESPOND TO SECOND AMENDED
                                                COMPLAINT
 13    Anovos Productions, LLC, et al.,
 14
                         Defendants.
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 18         Based upon the parties’ joint Stipulation and good cause, this Court hereby

 19   orders that the deadline for Defendants to respond to the second amended complaint

 20   is continued by two weeks. Defendants may file a response on or before November

 21   12, 2019.

 22
 23         IT IS SO ORDERED.

 24
 25   Dated: October 28, 2019               __________________________________
                                            MICHAEL W. FITZGERALD
 26
                                            United States District Judge
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